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AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:22-M -01702(1)
                                                            §
(1) Tomas Maldonado-Soria                                   §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about July 19, 2022 in Val Verde county, in the WESTERN DISTRICT

OF TEXAS defendant(s) did, Tomas MALDONADO-Soria, an alien, entered, or was found in the United States

at or near Del Rio, Texas, after having been denied admission, excluded, deported, or removed from the

United States through Laredo, Tx on 05/12/2016, and not having obtained the express consent of the

Secretary of the Department of Homeland Security or the Attorney General of the United States to reapply for

admission thereto. Defendant being voluntarily in the United States unlawfully , a felony,



in violation of Title             8            United States Code, Section(s)     1326(a)(1)

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "The defendant, Tomas MALDONADO-Soria, was arrested by Border Patrol Agents, on July

19, 2022 for being an alien illegally present in the United States. Investigation and records of the

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           Melton, Lance T.
                                                                           Border Patrol Agent

07/22/2022                                                            at   DEL RIO, Texas
File Date                                                                  City and State



VICTOR ROBERTO GARCIA                                                      ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
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CONTINUATION OF CRIMINAL COMPLAINT

                               WESTERN DISTRICT OF TEXAS
      UNITED STATES OF AMERICA

                      vs.                            Case Number: DR:22-M -01702(1)

         (1) Tomas Maldonado-Soria

Continuation of Statement of Facts:

Bureau of Citizenship and Immigration Services reveal the defendant was previously deported from the United
States on 05/12/2016 through Laredo, Tx. The defendant was found in the Western District of Texas without
having obtained permission from the Secretary of Homeland Security or the Attorney General of the United States
to re-apply for admission after being deported. The defendant is unlawfully present in the United States.
"




______________________________
Signature of Judicial Officer                                 Signature of Complainant
